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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


 ROBERT ZITO, Derivatively on Behalf of
 Nominal Defendant ROBINHOOD
 MARKETS, INC.,

                 Plaintiff,

       v.
                                                  Case No.: 1:22-cv-00081-CFC
 VLADIMIR TENEV, BAIJU BHATT, JAN
 HAMMER, PAULA LOOP, JONATHAN
 RUBENSTEIN, SCOTT SANDELL, AND
 ROBERT ZOELLICK,

                 Defendants,

                  And,

 ROBINHOOD MARKETS, INC.,

                 Nominal Defendant.



JOINT STIPULATION AND [PROPOSED] ORDER TO STAY DERIVATIVE ACTION

       Plaintiff Robert Zito (“Plaintiff”), derivatively on behalf of Robinhood Markets, Inc.

(“Robinhood” or “the Company”), and Vladimir Tenev, Baiju Bhatt, Jan Hammer, Paula Loop,

Jonathan Rubinstein, Scott Sandell, and Robert Zoellick, (“Individual Defendants”) and with

Robinhood Markets, Inc., Nominal Defendant, (collectively “Defendants”) and together with

Plaintiff (collectively, the “Parties”) jointly submit this Stipulation to temporarily Stay the

Derivative Action (“Stipulation”), and in support thereof state as follows:

       WHEREAS, Plaintiff Zito filed an action captioned Zito v. Tenev, et al., Civil Action No.

1:22-cv-00081-CFC (D. Del.) purportedly in the right, and for the benefit of Robinhood against

all Individual Defendants seeking to remedy Individual Defendants’ alleged breach of fiduciary
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duties, abuse of control, waste of corporate assets and against Defendant Tenev for violations of

Section 10(b) and 21D of the Securities Exchange Act of 1934 (“Exchange Act”), that it is alleged

caused substantial harm to Robinhood (the “Derivative Litigation”);

        WHEREAS, pending in the United States District Court for the Northern District of

California is a putative securities class action captioned Golubowski v. Robinhood Markets, Inc.,

Civil Action No.: 3:21-cv-09767-EMC (the “Securities Litigation”);

        WHEREAS, there is an overlap between the facts and circumstances alleged in the

Derivative Litigation and the Securities Litigation, including the relevance of many of the same

documents and witnesses;

        WHEREAS, Robinhood, Tenev, Bhatt, Hammer, Loop, Sandell, and Zoellick, named

defendants in the Derivative Litigation, are also named as defendants in the Securities Litigation

(the “Securities Litigation Defendants”);

        WHEREAS, the Securities Litigation Defendants anticipate filing a motion to dismiss in

the Securities Litigation for failure to state a claim;

        WHEREAS, pursuant to the Private Securities Litigation Reform Act (“PSLRA”), 15

U.S.C. § 78u–4(b)(3)(B), “all discovery and other proceedings shall be stayed during the pendency

of any motion to dismiss” and, as a result, until the court in the Securities Litigation decides the

anticipated motion to dismiss to be filed by the Securities Litigation Defendants, the Securities

Litigation will be stayed;

        WHEREAS, in order to ensure economy of time and effort for the Court, for counsel, and

for litigants, Plaintiff and Defendants have agreed that, in light of the overlap between the

Derivative Litigation and the Securities Litigation, and in light of the stay of proceedings which

the Parties anticipate will commence by operation of law following the filing of a motion to dismiss



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in the Securities Litigation, that the Derivative Litigation should be voluntarily stayed on the terms

set forth below unless and until either (1) the Securities Litigation is dismissed, with prejudice,

and all appeals related thereto have been exhausted; or (2) the motion to dismiss the Securities

Litigation is denied, and the PSLRA stay dissolves as a matter of law; or (3) either of the Parties

to this Stipulation gives ten (10) days’ notice that they no longer consent to the voluntary stay of

the Derivative Litigation.

       WHEREFORE, the Parties, through their undersigned counsel, hereby agree, stipulate, and

respectfully request that the Court enter an order as follows:

       1.      The Derivative Litigation shall be stayed upon the Court’s endorsement of this

Stipulation as an Order of the Court.

       2.      Defendants shall promptly notify Plaintiff upon becoming aware of any related

derivative actions or threatened derivative actions, including, but not limited to, Section 220

demands or litigation demands.

       3.      The Parties agree that if the plaintiff in any related derivative action refuses to agree

to a stay under similar terms, Plaintiff may lift the agreed stay upon ten (10) days’ notice in writing

to the undersigned Counsel for Defendants via email.

       4.      The Parties agree that during the pendency of this stay, Defendants shall inform

Plaintiff promptly upon the scheduling of any mediation or settlement talks with the plaintiff in

the Securities Litigation, and shall make a good faith effort to include Plaintiff in any mediation

or settlement talks with the plaintiffs in the Securities Litigation. In the event that Defendants’

good faith efforts do not result in including Plaintiff in the mediation with the plaintiff in the

Securities Litigation, then Defendants agree to mediate with Plaintiff in the Derivative Litigation

at or about the same time. The Parties further agree that Defendants shall inform Plaintiff promptly



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upon the scheduling of any mediation or settlement talks with any other derivative plaintiffs who

have asserted claims substantially similar to the claims asserted by Plaintiff herein, and shall seek

in good faith to include Plaintiff in any such mediation or settlement talks.

        5.      The Parties agree that notwithstanding the stay of this Derivative Litigation,

Plaintiff may file an amended complaint; however, Defendants need not answer or otherwise

respond to the Complaint or to any other complaint or amended complaint that is filed in or

consolidated with the above-captioned action during the pendency of this stay.

        6.      In the event that Defendants agree to produce, or any of them are ordered to produce

by a court of competent jurisdiction, any documents in the Securities Litigation or in any related

derivative litigation, or pursuant to any shareholder demand for an inspection of books and records

on behalf of Robinhood, then copies of such documents shall be provided to Counsel for Plaintiffs

within ten (10) days of such production, subject to the execution by Plaintiff of a reasonable

confidentiality agreement governing the use and disclosure of these materials.

        7.      Upon occurrence of any of (1) the dismissal of the Securities Litigation, with

prejudice, by the court, and exhaustion of all appeals related thereto; or (2) the denial of any motion

to dismiss the Securities Litigation in whole or in part; or (3) either of the Parties to this Stipulation

has given ten (10) days’ notice that they no longer consent to the voluntary stay of the Derivative

Litigation, then the Parties shall notify the Court within fifteen (15) days after the occurrence of

any of the events above. In the event of either (2) or (3), the parties shall meet and confer regarding

further proceedings in this Derivative Action.

        8.      In the event that Defendants agree to terms or conditions in connection with any

stipulation, agreement, or motion to stay a related derivative action that are more favorable to the

plaintiff(s) therein, those more favorable terms or conditions shall be deemed incorporated into



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this stipulation.

        9.      The parties to this Derivative Action are not waiving any rights, claims, or defenses

of any kind, and no part of this stipulation shall be construed as a waiver of any rights, claims, or

defenses.

DATED: March 11, 2022


                                              BIELLI & KLAUDER, LLC

                                              /s/ Ryan M. Ernst
                                              Ryan M. Ernst (No. 4788)
                                              1204 N. King Street
                                              Wilmington, DE 19801
                                              Telephone: (302) 803-4600
                                              Email: rernst@bk-legal.com

                                              GAINEY McKENNA & EGLESTON
                                              Thomas J. McKenna
                                              Gregory M. Egleston
                                              501 Fifth Avenue, 19th Floor
                                              New York, NY 10017
                                              Telephone: (212) 983-1300
                                              Facsimile: (212) 983-0383
                                              Email: tjmckenna@gme-law.com
                                              Email: gegleston@gme-law.com

                                              Attorneys for Plaintiff

                                              ROSS, ARONSTAM & MORITZ LLP

                                              /s/ David E. Ross
                                              David E. Ross (No. 5228)
                                              Benjamin Z. Grossberg (No. 5615)
                                              1313 North Market Street
                                              Suite 1001
                                              Wilmington, DE 19801
                                              Tel: (302) 576-1600
                                              E-Mail: Dross@ramllp.com
                                              E-Mail: BGrossberg@ramllp.com




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                                  CRAVATH, SWAINE & MOORE LLP
                                  Antony L. Ryan
                                  Kevin J. Orsini
                                  Brittany L. Sukiennik
                                  Worldwide Plaza
                                  825 Eighth Avenue
                                  New York, NY 10019
                                  Tel: (212) 474-1296
                                  E-Mail: ARyan@cravath.com
                                  E-Mail: KOrsini@cravath.com
                                  E-Mail: BSukiennik@cravath.com

                                  Attorneys for Defendant




   IT IS SO ORDERED this ______ day of _______________, 2022.



                                   ____________________________
                                   The Honorable Colm F. Connolly
                                   United States District Court Judge




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